                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ALASKA


    UNITED STATES OF AMERICA,

                              Plaintiff,

                      v.

    LEO JAMES CHAPLIN,                             Case No. 3:19-cr-00121-SLG

                              Defendant.


       ORDER REGARDING MOTION IN LIMINE FOR JUDICIAL NOTICE OF
                 ALASKA SUPERIOR COURT RECORDS

         Before the Court at Docket 87 is the government’s Motion in Limine for

Judicial Notice of State of Alaska Superior Court Records. Defendant Leo James

Chaplin filed a limited opposition at Docket 94. With leave from the Court, the

government filed a reply at Docket 100-1.

         The government seeks an order taking judicial notice of state court

documents entered in Mechelle Chaplin v. Leo James Chaplin and twelve facts

derived from those documents.1 Mr. Chaplin opposes judicial notice because,

according to him, the government makes “various conclusory allegations which are

not supported by the documents provided,” there is no foundation for the

documents, and the documents are “subject to other objections to admission.”2


1
 Docket 87 at 6 (citing State of Alaska Superior Court in the Third Judicial District of Anchorage
case number 3AN-15-04916CI).
2
    Docket 94 at 1.




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Mr. Chaplin does not identify his other objections to the documents.                          The

government’s reply clarifies that is not seeking to have the Court adopt the state

court’s findings, but only to judicially notice the fact that the state court orders were

issued.3

         Federal Rule of Evidence 201 allows a court to take judicial notice of “a fact

that is not subject to reasonable dispute because it . . . can be accurately and

readily determined from sources whose accuracy cannot reasonably be

questioned.” The existence of the state court records at issue here is not subject

to reasonable dispute.4 However, the documents submitted by the government

are not authenticated. Before the documents will be admitted as exhibits or

judicially noticed, the government will need to authenticate the records pursuant to

the Federal Rules of Evidence unless the defense stipulates to their authenticity.5

         The Court conditionally grants the motion for judicial notice as follows:

Assuming that the documents are authenticated or the defense will so stipulate,

the Court will take judicial notice of the Alaska state court documents filed at

Docket 87-1 to the extent that it will notice the dates and types of documents and


3
    Docket 100-1.
4
  See Doe v. Mann, 415 F.3d 1038, 1040 n. 3 (9th Cir. 2005) (taking appellate judicial notice of
child adoption records from state court proceedings); U.S. ex rel. Robinson Rancheria Citizens
Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992) (explaining that a court “may take
[judicial] notice of proceedings in other courts, both within and without the federal judicial
system, if those proceedings have a direct relation to matters at issue”) (citation omitted); Kasey
v. Molybdenum Corp. of America, 336 F.2d 560, 563 (9th Cir. 1964) (federal courts may take
judicial notice of state court records).
5
    See, e.g., Federal Rule of Evidence 902.

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the fact of the orders by the state court (e.g., on January 6, 2016, the state court

ordered Mr. Chaplin to return the children to the United States by January 31,

20166). However, the Court will not take judicial notice of any of the state court’s

findings of fact within those orders (e.g., that “there is evidence of stability with

their mother as the primary caretaker”7). The Court will also not take judicial notice

of information entered into the log notes (“Summary of Proceedings”) entered in

the state court. Absent a stipulation, a party that seeks to have the content of any

state court proceeding judicially noticed must obtain the audio recording and/or an

official transcript of the relevant state court hearing. This would apply to proving

whether Mr. Chaplin was or was not present for specific court hearings, either

physically or telephonically.

         In light of the foregoing, IT IS ORDERED that the motion at Docket 87 is

GRANTED as set forth in this order. The parties are directed to meet and confer

about court documents from Alaska and the Philippines and notify the Court of any

stipulations as to the admissibility of those court documents.

         DATED this 15th day of January, 2021, at Anchorage, Alaska.

                                                  /s/ Sharon L. Gleason
                                                  UNITED STATES DISTRICT JUDGE




6
    Docket 87-1 at 13–14.
7
    Docket 87-1 at 12.

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